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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO




  Civil Action No. 20-cv-01318-NYW


  ALL PLASTICS, INC., d/b/a BUD BAR DISPLAYS and BUDBARDISPLAYS.COM, a
  California corporation,

         Plaintiff,


  v.


  SAMDAN LLC, d/b/a SMOKUS FOCUS, a South Carolina limited liability company,
  SAMUEL WHETSEL, an individual and in his capacity as a member of SamDan LLC, and
  DANIEL RUSSELL-EINHORN, an individual and in his capacity as a member of SamDan
  LLC,

         Defendants.



                        DEFEDANTS’ STATEMENT OF GOOD CAUSE


         Defendants hereby provide their statement of good cause complaint with

  D.C.COLO.LPtR 16(b)(3). All revisions to Defendants’ invalidity contentions as expressed in

  the Defendants’ Final Invalidity Contention were necessitated either by the construction of terms

  as set forth in the Claim Construction Order [ECF 122] or by Plaintiff’s subsequent disclosure of

  its prior products after the date of the initial invalidity contentions. Accordingly, good cause

  exists for all amendments to Defendants’ invalidity contentions.




  On October 27, 2021 by                 s/ Kammie Cuneo
                                         Kammie Cuneo
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